\OOO\]O\U¥-l>~w[\J)-‘

NNNNNI\)!\)I\)NHH
oo\)o\mAwN»-*o\ooo:g;z;§:g

Case 5:14-Cv-00207-DI\/]G-SP Document 1 Filed 02/03/14 Page 1 of 13 Page |D #:1

F£LED

lose h H. Low IV, ES?. (SsBN 1948§7
TH LAW FIRl\/I OF O EP_H H. LO IV ZUWFEB -3 th: 3°
One World Trade Center, Suite 2320

Long Beach, CA. 90831 cL.
Telephone: 563 901-0840 C

0
J;»_

Faesir_nil_e: 5_62 901-0841
E-mail: jhloWiV aol.com B.,,

 

l\/Iichael R. Marrinan (SBN# 90484)

Attorney:at LaW

LAW_O FICES OF MICHAEL R. MARRINAN
614 Fifth Avenue Suite D

San Diego, CA 9 101

Telephone: 619 238-6900

Faesmnlle: 61_9 515-0505

E-marl: mrmarrman@aol.eom

Attorneys for Plaintiffs

UNITED sTATEs DIsTRICT CoURT
soUTHERN DISTRICT oF cALIFoRNIA t
EsTATE oF soNNY JosEPH , ease No. EDCW L{’l©"l‘ I-;»V’§) [D‘ §§

MAZON, deceased, by his mother
and successor in interest Lavenia COMPLAINT FOR DAMAGES

Ma_zo_n, and LAVENIA MAZON, AND DEMAND FOR JURY
individually, TRIAL
Plaintiffs,
vs.

DR. KHAN
and DoEs i-io,
Defendants.

 

Plaintiffs allege:
JURISDICTION

1. This is a lawsuit for money damages and is brought pursuant to 42 U.S.C.
§ 1983, et seq., and the Fourth and Fourteenth Amendments to the United States
Constitution, for personal injuries, Wrongful death and violation of constitutional

rights by defendant Dr. Khan, a psychiatrist employed by the County of Riverside

1

 

 

Case 5:14-cv-00207-DI\/|§G-SP Document 1 Filed 02/03/14 Page 2 of 13 Page |D #:2

\OOO\IO\L!\J>~L)J[\)»-*

t\)l\)l\.>l\.)l\)t\)l\)l\)[\>>-*»-*

 

who works in the Riverside County Jail, including the Larry Smith Detention
Facility. Jurisdiction is founded on 28 U.S.C. Section 1331 and 1343 and the
aforementioned statutory and Constitutional provisions The unlawful acts and
practices alleged herein occurred in the County of Riverside, California, which is
within this judicial district
PARTIES AND GENERAL ALLEGATIONS

2. Plaintiff Lavenia Mazon is a resident of the County of Riverside, State of
California. Plaintiffs’ decedent, Sonny Joseph Mazon, was a resident of the
County of Riverside, State of California at the time of his death on February 4,
20 l 2.

3. Plaintiff Lavenia Mazon is the mother of Plaintiffs' decedent, Sonny
Joseph Mazon, and is his successor-in-interest. Plaintiff Lavenia Mazon brings
this action as an individual on her own behalf and on behalf of Plaintiff Estate of
Sonny Joseph Mazon, deceased, in her representative capacity as successor-in-
interest to decedent Sonny Joseph Mazon.

4. Decedent Sonny Joseph Mazon died intestate in the city of Palm Springs,
County of Riverside, State of California. No special administrator or personal
representative of the Estate of Sonny Joseph Mazon has been appointed by any
court.

5. The plaintiffs' decedent is Sonny Joseph Mazon, who, at the time of his
death on February 4, 2012, was a 24 year old resident of the County of Riverside,
California. Sonny Mazon was a United States Army veteran, having served in the
Afghanistan war with the 101St Airborne Division. At the time of his death, Sonny
Joseph Mazon was single and had no children

6. At all times relevant hereto, defendant Dr. Khan was an employee and/or
agent of the County of Riverside. Dr. Khan is sued individually and in his
capacity as an employee or agent of the County of Riverside.

7. Defendant Dr. Khan and DOES 1-10 performed all of the herein alleged

2

 

\DOO\\O\Ul-l>~wl\))-\

1\)1\)1\)1\)[\)r\)r\)l\)x\)»-‘»-*»d>-a

 

Case 5:14-cv-00207-DMG-SP Document 1 Filed 02/03/14 Page 3 of 13 Page |D #:3

acts under color of the laws of the County of Riverside and the State of California.

8. The true names or capacities, whether individual, corporate, associate or
otherwise, of defendants named herein as DOES 1 through 10, are unknown to
Plaintiffs, who therefore sue said defendants by such fictitious names Plaintiffs
will amend this complaint to show the unknown defendants' true names and
capacities when the same have been ascertained Plaintiffs are informed and
believe, and thereon allege, that all defendants sued herein as DOES are in some
manner responsible for the acts herein alleged

9. Each of the acts of the individually named defendant and DOES 1
through 10, were done by them by under the color and pretense of the statutes,
ordinances, regulations, customs and usages of the State of California. Said
defendants were the servants, agents and employees of defendant County of
Riverside, and in doing the acts hereinafter described, acted within the course and
scope of their employment

FACTUAL ALLEGATIONS

10. Plaintiff’ s decedent, Sonny loseph Mazon, was in the United States
Army for four years and was honorably discharged in late 2010. He served 15
months in combat in Afghanistan With the 101St Airborne Division. During his
service in Afghanistan Mr. Mazon suffered a traumatic brain injury from an
improvised explosive device, as well as severe psychological injuries due to his
experiences in combat

ll. After his discharge from the Army l\/Ir. l\/Iazon suffered significant
psychological deficits and severe post traumatic stress disorder,for which he was
treated at the Loma Linda Veterans Administration Hospital. He attempted

suicide on multiple occasions _
12. On June 21, 2011, l\/lr. Mazon was arrested after a traffic accident

where he left the scene. Mr. Mazon was located by police in his bathtub with a

knife, threatening to slash his wrists. He was subdued, arrested and incarcerated at

3

 

p..a

\c>oo...\’i"'o'-\:.@§`.»l§wr\)

wi\)mmi\sl\)l\)wx\)»-»‘
oo\)o\ui.\>.wl\.)»-‘o\ooo:ia;:§$§:;

il;

C;§,ase 5:14-cv-00207-DI\/|},G-SP Document 1‘ Filed 02/03/14 Page 4 of 13 Page |D #:4

l the Larry D. Smith Correctional Facility which is operated by defendant County of

 

Riverside and its sheriff’ s department While in custody Mr. Mazon was placed
on suicide watch in a safety cell. He was eventually released from custody

' §~ 13 Qn lanuary 25, 2012, Mr._ Mazonrwas,ai;res.te_d:.~fo_r feieny.'charges;after a

, domestic altercation at his home in Riverside'€ounty Afile §wa's again booked~i'nto
v the Larry ij Smith Correctional Facility and placed on suicide watch in a safety

_ cell after exhibiting c1e_ar. indications thathe was suicidal

14. Plaintiffs are informed and believe that l\/Ir. l\/lazon was released on
January 27, 2012 and re-arrested that same day by San Jacinto/Riverside County
sheriff’s deputies and re-booked into the Larry D. Smith Correctional Facility.
Plaintiffs are further informed and believe that during the booking process on
January 28, 2012 l\/Ir. Mazon attempted to stab himself with a pen. Force was
required to subdue him. Clearly suicidal, Mr. l\/Iazon was placed in a safety cell,
on suicide watch.

15. Plaintiffs are informed and believe that less than 24 hours later Mr. w
Mazon was removed from the safety cell and placed alone in a regular holding cell
which contained a telephone and telephone cord. Sheriff s deputies responsible
for classification and housing'of inmates were told that by a mental health worker,
Daniel l\/latloff, that Mr. l\/lazon was no longer suicidal and should be removed
from the safety cell. Plaintiffs are informed and believe, based upon the testimony
of l\/Ir. Matloff, that Mr. Matloff consulted defendant Dr. Khan, the on-duty jail
psychiatrist, who agreed with him and approved the removal of l\/lr. l\/lazon nom
the safety cell. Dr. Khan did so despite the fact that l) he never saw or evaluated
l\/Ir. Mazon, 2) another jail psychiatrist, Dr. Patel, had evaluated Mr. l\/Iazon and
concluded he was suicidal and should remain in a safety cell, and 3) l\/Ir. l\/lazon
never received medications that Dr. Patel ordered the day before. Approximately
one hour after being removed from the safety cell and being placed alone in a

regular holding cell that contained a telephone, Mr. l\/lazon was discovered

4

 

\OOO\]O`\U!-l>~b)l\)>_\

1\)1\)\\)1\)1\)1\)1~.)
oo\io\w.t>wm§§@§:a;;$§:;

 

Case 5:14-cv-00207-DI\/|'G-SP Document 1 Filed 02/03/14 Page 5 of 13 Page |D #:5

unresponsive in his cell with the telephone cord wrapped around his neck in an
apparent suicide attempt Paramedics were called and Mr. l\/lazon was transported
to Desert Regional l\/ledical Center in Palm Springs where he was in a coma for
several days. He never regained consciousness and died on February 4, 2012.

16. Between January 29, 2012 and February l, 2012, l\/lr. Mazon’s family
attempted to locate him by repeatedly calling the Riverside Sheriff” s Department
They were not told of his injuries and hospitalization They were told he could not
be visited. Finally, on February 1, 2012, farriin members learned from the
Banning Police Department that l\/Ir. l\/lazon had been injured and was hospitalized
at the Desert Regional Medical Center. They immediately traveled to the hospital
to see him. After first being denied access to l\/lr. l\/lazon, family members were
finally able to see him. They found him in a coma, on life support Three days
later, on February 4, 2012, Mr. l\/lazon died from his injuries.

17. Defendant Dr. Khan was deliberately indifferent to Mr. l\/lazon’s clear
mental illness and serious medical needs, by failing to see and evaluate him,
failing to consult with Dr; Patel, failing to insure he received the medications
prescribed by Dr. Patel, and yet approving his removal from the safety cell. This
constituted deliberate indifference to l\/lr. l\/_[azon’s serious medical needs and was
the proximate cause of l\/Ir. l\/lazon’s death.

FIRST CAUSE OF ACTION
[42 U.S.C. § 1983 Constitutional Violations - Plaintiff
Estate of Sonny Joseph l\/lazon Against Defendants Dr. Khan]

18. Plaintiffs reallege and incorporate by reference each and every
allegation contained in Paragraphs 1 through 17 above as though fully set forth
herein.

19. Sonny Joseph l\/Iazon had a right under the Fourteenth Amendment to
the United States Constitution to be free from excessive punishment and deliberate

indifference to his serious medical needs by employees or agents of governmental

5

 

Case 5:14-cv-00207-DI\/|,G-SP Document 1 Filed 02/03/14 Page 6 of 13 Page |D #:6

\OOO\`|O'\U'¢-l>~b)[\)>-\

l\)l\)l\)l\)l\)l\)l\.)l\->l\)>-\»-‘

 

entities, including defendant Dr. Khan, a Riverside County jail psychiatrist Mr.
l\/Iazon also had a right to due process of law and equal protection of the laws
under the Fourteenth Amendment.

20. When Sonny l\/lazon was under the care and custody of Mr. l\/latloff and
Dr. Khan, Defendant Dr. Khan acted with deliberate indifference to Sonny
Mazon’s serious medical needs and his known and recognized constitutional rights
to due process, equal protection, bodily integrity and his right to be free from
excessive punishment and deliberate indifference to his serious medical needs.
Plaintiffs are informed and believe that Defendant Dr. Khan knew that Mr. l\/Iazon
was severely mentally ill and suicidal, and had received no treatment for his
illness. Despite this knowledge, Dr. Khan approved and allowed Mr. Mazon to be
removed from a safety cell and placed alone in a regular cell with a telephone cord
that could easily be used to commit suicide. This was a clear violation of all
proper protocols for suicidal inmates, constituted deliberate indifference to Mr.
l\/Iazon’s serious medical needs as described above and was the proximate cause
of Mr. l\/Iazon’s suicide and death.

22. As a result of Defendants’ deprivation of Sonny Mazon’s constitutional
rights as described above, plaintiff Estate of Sonny Joseph l\/Iazon has incurred
damages, including physical injuries to and the eventual death of Plaintiffs’
decedent, Sonny Joseph l\/lazon. Accordingly, Plaintiff Estate of Sonny Joseph
l\/lazon is entitled to general and compensatory damages in an amount to be proven
at trial.

23. The aforesaid acts and omissions of defendants Dr. Khan were done
recklessly and/or with callous indifference to Sonny Joseph Mazon’s health, safety

and constitutional rights, therefore entitling Plaintiffs' to punitive damages in an

amount to be proven at trial.

 

Case 5:14-cv-00207-DI\/|G-SP Document 1 Filed 02/03/14 Page 7 of 13 Page |D #:7

\OOO\IO\Ul-I>L)J[\)>-“

NI\)NI\J[\)N[\JNI\)
oo\io\misww~@®§$:i’<?\;§;§:$

 

SECOND CAUSE OF ACTION
[42 U.S.C. § 1983 Constitutional Violations By Plaintiff
Lavenia Mazon, lndividually, Against Defendant Dr. Khan]

24. Plaintiffs reallege and incorporate by reference each and every
allegation contained in Paragraphs l through 23 above as though fully set forth
herein.

25. As a result of the acts alleged above, particularly the deliberate
indifference to Sonny Joseph Mazon’s medical needs, his right to due process of
law and his right against unreasonable seizures, Defendant Dr. Khan proximately
caused severe injuries to and the eventual death by suicide of Sonny Joseph
Mazon.

26. Plaintiffs are informed and believe that Defendant Dr. Khan knew that
Sonny Mazon was severely mentally ill and suicidal. Despite this knowledge, Dr.
Khan failed to properly monitor, evaluate and treat Sonny Mazon. Nevertheless,
Sonny Mazon was removed from a safety cell and placed alone in a regular cell
with a telephone cord that could easily be used to commit suicide. This was a
clear violation of all proper protocols for suicidal inmates, constituted deliberate
indifference to Mr. Mazon’s serious medical needs and was also a proximate cause
of Mr. Mazon’s suicide and death.

27. As a result of Defendants’ deprivation of Sonny Mazon’s constitutional
rights as described above, Defendant Dr. Khan deprived Plaintiff Lavenia Mazon
of her constitutionally protected due process right to the love, support, affection
and companionship of her son, in violation of Plaintiff Lavenia Mazon’s
constitutional rights as guaranteed by the Fourteenth Amendment to the U.S.
Constitution, particularly the due process clause of the Fourteenth Amendment.

28. T he acts of defendants and each of them as described above also
amounted to recklessness which caused injury and ultimately death to Sonny

Joseph Mazon, thus causing a violation of the Fourteenth Ainendment rights of

7

 

Case 5:14-cv-00207-DI\/|G-SP Document 1 Filed 02/03/14 Page 8 of 13 Page |D #:8
j ,

\DOO\`|O\L/\-LL»J[\)*_‘

1\)1\)1\):\.)1\)1\)1\)1\)1\)~
oo\io\m.r>.o)i\)»-~o\o;$:ig;:$§:;

 

Plaintiff Lavenia Mazon. Said acts proximately caused the death of plaintiffs'
decedent, entitling Plaintiff Lavenia Mazon to general and compensatory damages
pursuant to 42 U.S.C. section 1983 et seq. in an amount to be proven at trial.

29. The aforesaid acts and omissions of defendant Dr. Khan were done
recklessly and/or with callous indifference to Sonny Joseph Mazon’s health, safety
and constitutional rights, therefore entitling Plaintiffs' to punitive damages in an
amount to be proven at trial.

THIRD CAUSE OF ACTION
[Negligence/Wrongful Death under California Law]

30. Plaintiffs reallege and incorporate by reference each and every
allegation contained in Paragraphs 1 through 29 above as though fully set forth
herein

31. By the acts alleged above, Defendant Dr. Khan was negligent and
breached his duty of due care owed to Plaintiffs and their decedent, Sonny Mazon,
thereby causing the injuries and damages described in the Factual Allegations,
including the suicide of, injuries to, and wrongful death of Sonny loseph Mazon,
as described above.

32. As a result of the negligence described above, Plaintiff Lavenia Mazon
is entitled to damages under California law from defendant Dr. Khan for the
wrongful death of her son, including, but not limited to, loss of love,
companionship, comfort, affection, society, moral suppoit, financial support,
services, advice, training and funeral expenses Plaintiff Lavenia Mazon is
therefore entitled to said general and compensatory damages in an amount to be
proven at trial.

33. By the acts alleged herein, including the negligence of defendant Dr.
Khan as described above, defendant Dr. Khan legally caused injury to, and the
death of, plaintiffs' decedent Sonny Joseph Mazon, causing the Estate of Sonny

Joseph Mazon to incur funeral expenses, medical bills, property loss and other

8

 

Case 5:14-cv-00207-DI\/|G-SP Document 1 Filed 02/03/14 t Page 9 of 13 Page |D #:9

\OOO\]O\Ul-I>L)~J[\.)»--\

x\)r\)i\)x\)r\)x\)r\)l\)i\)
oo\)c\m.s>ws)~o@§:;;;;§:;

 

damages, entitling the Estate of Sonny Joseph Mazon to damages in an amount to
be proven at trial, pursuant to California Code of Civil Procedure § 377.30.
PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against defendants and each of
them as follows:

1. For general and compensatory damages against defendants and each of
them in an amount to be proven at trial;

2. For exemplary and punitive damages against defendant Dr. Khan only, in
an amount to be proven at trial; `

3. For costs of suit herein, including reasonable attorneys fees ; and,

4. For such other relief as the Couit deems proer.

Dated: February 3, 2014

  

 

 

Case 5:14-cv-00207-DI\/|G-SP Document 1 Filed 02/03/14 Page 10 of 13 Page |D #:10

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES ]UDGES

This case has been assigned to District ludge Iesus G. Bernal and the assigned

Magistrate judge is David T, Bristow

The case number on all documents filed With the Court should read as follows:

Ei)Cvi4-00207-IGB (DTBX)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate ]udge has been designated to hear discovery related motionsl

All discovery related motions should be noticed on the calendar of the Magistrate ]udge.

Clerk, U. S. District Court

 

 

 

February 3, 2014 By MDAVIS
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (1f a removal action is

filed, a copy of this notice must be served on all plainti]j‘s).

Subsequent documents must be filed at the following location:

|:] Western Division |:| Southern Division Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV»18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES IUDGES

Case 5:14--0\/ OOANMA$B veniremen cEilsriAQ¥/Q$éid QP@HEF&M 13 PaQ@ 'D #-11

ClVlL COVER S'HEET

 

l. (a) PLAlNTIFFS ( Check box if you are representing yourself [:| )

ESTATE OF SONNV JOSEPH MAZON, deceased, by his mother and successor in
interest, Lavenia Mazon, and LAVEN|A MAZON, individually

DEFENDANTS

( Check box if you are representing yourself |:1 )

DR. Khan, and DOES 1-10

 

 

(b) County of Residenc_e of First Listed Plaintiff R|VERSlDE
(EXCEPTlN U.S. PLA/NTIFF CASES) '

County of Residence of First Listed Defendant
(/N U.S. PLA/NT/FF CASES ONL Y)

 

 

(c) Attorneys (Firm Name, Address and Te/ephone Number) If you are
representing yourself, provide the same information

THE LAW F|RM OF JOSEPH H. LOW |V

One Wor|d Trade Center, Suite 2320
Te|ephone: 526.901.0840

Long Beach, CA 90831

 

Attorneys (Firm Name, Address and Te[ephone Number) if you are
representing yourse|f, provide the same information

 

 

 

ll. BAS|S OF .|UR|SD|CT|ON (Place an X in one box only.) lll. ClTlZENSHlP OF PR|NC_lPAL PART|ES-For Diversity Cases Only
_ (Place an X' m one box for plaintiff and one for defendant) -
PTF DEF PTF DEF
1. U.S. Governrnent . -.3 FederalQuestiori(U.S.(;111Zen OfTh1S State 1:1 1 |:| 1 lnCOfP_°\'at€_d Or _PrlnClPal PlaC@ 1:1 4 [:1 4
Plaintiff Government Not a Party) of Bus‘"ess m th'$ State
Cltizen of Another State 1:| 2 l:] 2 lncorporated and Principal Place I:I 5 l:] 5
2 U 5 G t 4 D_ 'ty(| di C_t_ 'h_ b of Business in Another State “
. . . overnmen . iversl n cate 1 1zens lp Cltlzen or Su ject of a . .

Defendant of Parties in ltem |ll) Foreign Country l:l 3 l:l 3 F°re'g" Nat'°“ l:l 6 l:l 6
|V. ORlG|N (P|ace an X in one box only.) _ 6 Mum

1. Originai 2. Removed from 3. Remanded from 4. Reinstated or 5.Transferred from Another `D- -;t
Proceedmg State C°""t [:| APPElllB\te COUI'! l:l Reopened l:l Districi (Specify) l:l Litlé;ttri'(m

 

 

V.REQUESTED lN COMPLA|NT: .|URY DEMAND: Yes |:| No
CLASS ACTION under F.R.CV.P. 231

:]Yes No

(Check "Yes" only ifdemanded in complaint.)

MONEY DEMANDED lN COMPLA|NT: $ ACCOrdlng to Proof
Vl. CAUSE OF ACTlON (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejurisdlctional statutes unless diversity.)
42 USC Sec:tion 1983 Action A|leging Deliberate lndifference/Wrongful Death

 

Vll. NATURE OF SUIT (Place an X in one box only).

   

, a'.u

 

 

110 |nsurance

 

 

 

  
 

  
 

   
 
 
  
 
  

 

 

 

462 Naturallzation

 

  

  

 

 

  

   
  

 
  

  

   

 

 

 

  
 

  
  
  
 

  

 
      
  

  

|:] 375 False C|aims Act 240 TO\"(S to Land App|ication Habeas Corpus: [:j 820 Copyrights
1:1 400 State [:] 1201v1ar1ne |:1 2.45 .T°“ P'°d““ l:l 463 Ali€[\ D€talnee |:| 830 Patem
ReappOrflOnment l-lab'llty _ 465 Other 1:1 510 lV|otlons to Vacate
1:1 410 Antitrust |:| 130 MillerAct 1:1 290 AllOtherReal l:l lmmigratlon Actions Sent€nC€ l:l 340T'ademal'k
' PVOPEFW j:| 530 General l‘
- 140 Negotiab|e _ .
l:l 439 Bank$ and B|acncklng l___l lnstrument ' ~_ |:| 535 Death Penalty 1:| 351 HjA (13951¢0
m g;?esc/EP;-meme/ bEl/(;F;acil)d:rnyr%l l:l 310 Arrplane |:| mo er rau " m 862 mack L““g (923)
1:1 460 Depqrcacion m Enforcement of 315 A1,p1ane l:l 371 Trufh in Lendir\g 1:| 5401v1andamus/oiher |:] 363 Dch/DIWW(405(g))
470 Racketger|nr|u- ludgment |:l PrOdUCt Llabll|ty 1:1 380 OtherPersonal 1:| 550 Civil Rights 1:| 36455113T1t|e xvi
l:l enced &Corrupt Org. |:[ 151 Medicare Act 1:1 §[20 Gssau|t, Libe| & Property Damage 555 Prison Condition m 865 RSI (405 (g))
, an er . _ ' _
m 1:1 assistant a erred move 9 355<11'?1"51131'“”@ assistant »
Lia iity , _
|:| 490 Cab|e/Satw man (EXC|' Vet') fn gsr 870 Taxes (U.S.Plaintiffor
850 Securities/Com- 153 Recovery of l:l 340 Mar!ne 'App m l:l Defendant)
m m°dlt‘eS/Exchange overpayment of |:1 5;5131'1'1'§;'"€ Pr°duct l:l USC 158 eis orug Reiated m 871 ins Th\rd party 26 usc
890 Other Statutory Vet.BeneFits _ 423~Withd,awa128 l:l Seizure of Property 21 7609
l:l Actions L__‘ 160 Stockho|ders. |:| 350 N|otorVehicle l:] u5C157 |:] L;;gg?:1
~ 't 355 MotorVehic|e €l’
1:| 891 Agr1culturalActs Sul 5 |:| Product liability ' l '
1:1 S9ablt§1;vironmental 1:1 1Cg?13;1c1:r l:| 360 Otherpersonal 440 OtherC1v1l Rights
lnjury 441 Voting
895 Freed°m °flnf°" 195 Contract 362 Personal lnjury- '
|:] Act l:l Product L|ability l:l Med Malpratice l:l ::§ :mPlOYf`;\@nt 1:1 §§|OatLiaol:`<;r/Mgmt.
896 Arbitration ' 365 Personal |njury~ ousing
m |:| 196.Franchlse m P"Oduct liability |:| Accommodations |:| 740 Railway LaborAct
1 899 Admin. Procedures 367 Health Care/ 445 A,",“?r":an W'th 751 Fam11 and Med1ca1
[:| Act/Review oprpea|of |_`_°1 210 Land 1:] Pharmaceutlcal l:l ED'SalIJ'l't'es‘ I:l Leave Acty
Agency Decision Condemnation Personal injury mP °Yme“t _ 0 h L b
ProductLiabi|it 446_Americanw1th 7_99 f_€r 3 Ol'
l y |:l
1 f l:| 220 Forec Osure 363 Asbestos l:l Disabilities-Other L‘t'gat'°"
950 C°nstitutl°na lty° 230 Rent Lease 81 . 791 Emp|oyee Ret. lnc.
m State Statutes Ejectment l l:| E:<;§|)_|r§||_lg§imv l:l 443 Educat'°n l:l Security Act

 

FOR OFF|CE USE ONLY:
CV-71 (11/13)

Case~umbe, 15 10 (`,\ll

199"7

ClVlL COVER SHEET

Page 1 of 3

 

Case 5:14--cv OOZQMNN|§A$E§ D@e§m§- §M@BQ§H@T¢P&QEFJ&H[A 13 Page |D #: 12

ClVlL COVER SHEET

Vlll. VENUE: Your answers to the questions below will determine the division ofthe Court to Which this case will most likely be initially assigned This initial assignment
is subject to change, in accordance with the Court’s Genera| Orders, upon revlew by the Court of your Comp|aint or Notice of Removal.

 

Question A: Was this case removed from
state court?

 
  

  
 

 

 

 

m Yes |Xj No |:] Los Angeles § Western
|f "r\O, " 90 10 Qu€Sthn B. |f"yES," checkthe |:] Ventura, Santa Barbara, or San Luis Obispo WE$tem
box to the right that applies, enter the
corresponding division in response to [:1 Orange Southern
Question D, below, and skip to Section lX.
|:] Riverside or San Bernardino Eastern

 

 

 

 

 

its agencies or employees, a party to this
action?

 

 

 

 

 

 

|___| Yes No

If "no, " go to Question C. 1f"yes,"checkthe l:l LOSAngeles l:| Los Ange|es Western

box to the right t,hat,apl_’hes' enterthe Ventura, Santa Barbara, or San Luis Ventura, Santa Barbara, or San Luis

corresponding division in response to l:] Obispo I:l Oblspo Western

Question D, below, and skip to Sectlon lX.
|:] Orange m Orange Southern
i:] Riverside or San Bernardino |:| Riverside or San Bernardino Eastern
[:| Other |___] Other Westem

 

 

 

 

 

  

mg
lndicate the location m which a
majority of plaintiffs reside:

l:l l:l l:l X l:l l:l
l d' h l ` ' h' h
rlai§ii§§red§r§ari§;r$i'§l§a'§e=a l:l l:l |j |:1 [1
[l l:l ij l:l l:l

 
 

 

 

|ndicate the location' m which a
' ofclaims arose:
rr

 

 

 

 

 

    
   

 

C.1. ls either of the following true? lf so, check the one that applies: C.Z. ls either of the following true? lf so, check the one that applies:
m 2 or more answers in Co|umn C 2 or more answers in Co|umn D
|:l only 1 answer in Co|umn C and no answers in Co|umn D |:] only 1 answer in Co|umn D and no answers in Co|umn C
Your case Will initially be assigned to the ' Your case will initially be assigned to the
SOUTHERN DlVlSlON. ` EASTERN D|VlS|ON.
Enter "Southern" in_ response to Question D, below. Enter"Eastem" in response to Question D, below.
|f none applies, answer question C2 to the right. » l if none applies, go to the box below. t

 

¥our case will initially be assigned to the
WESTERN'DlVlSlON.
Enter "Western" in response to‘Qu estion D below.

 

 

 

 

Enterthe initial division determined by Question A, B, or C above: -} EASTERN

 

 

CV-7`l (1 1/13) . ClVll_. COVER SHEET 1 ' Page 2 of 3

CaSe 5:14-Cv-0021idiritdsfr`ii=1$§’oisiemimouinl,cdiiia<iii.€liistitlérioipetiii‘-diii\iili 13 ‘PHQ€ lD #113

 

ClVlL»CQVER Sl-iEET
|X(a). lDENTlCAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? »NO |:| YES
if yes, list case number(s):
|X(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? m NO YES

lf yes, list case number(s): EDCV12-2240-DMG (SPx)

 

Civil cases are deemed related if a previously filed case and the present case:

(Check a" boxes that app|y) A. Arise from the same or closely related transactions happenings, or events; or
B. Call for determination ofthe same or substantially related or similar questions oflaw and fact; or
C. For other reasons would entail substantial duplication of labor if heard by differentjudges; or

[:| D. lnvolve the same patent, trademark or copyrighWe of the factors identified above in a, b or c also is present.

x. siGNA'runE oi= ArToRNEY ;7/‘ /(/\7%
(OR SELF-REPRESENTED LlTlGANT): . /A.( . / M DATE: Febi‘ua|'y 3, 2014
epa the inf r ion contained herein neither replace norsupplement the filing and service of pleadings or

e Ju_dii:ial Confe e of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
statistics, venue a ` itiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).

 

 
   
  

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cov r
other papers as required by law. This form, approve
but is used by the Clerk of the Court for the purpos

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

All claims for health insurance benedts (Medicare] under Title 18, Pait A, of the Social Security Act, as amended. Also,

851 H‘A include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b)) .

862 BL All claims for "Black Lung" benefits under Title'4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923) . \

863 DlWC All claims filed by insured workers for disability insurance benefits underTitle 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 UrS.C. 405 (g))

863 DlWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as

t . amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as

864 SS|D amended.

865 RS| All claims for retirement (old age) and survivors benefits underTitle 2 of the Social Security Act, as amended

i42 u.s.c. 405 (g»

 

CV-71 (11/13) ClVlL COVER SHEET ' Page 3 of 3

 

